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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


             OPPOSITION TO GOVERNMENT MOTION IN LIMINE TO
           EXCLUDE DEFENDANT’S PROFFERED OPINION TESTIMONY

       The government has moved to exclude the testimony of defense expert Amy Jeffress.

Mot. In Limine to Exclude Defendant’s Proffered Opinion Testimony (“Mot.”), ECF 42. Ms.

Jeffress, an exceptionally well qualified lawyer, is expected to testify that reasonable persons in

Mr. Craig’s circumstances would have believed they were not required to register under the

Foreign Agents Registration Act (FARA). This testimony is directly relevant to a key allegation

in the indictment, and it is explicitly authorized by a controlling decision of the Court of

Appeals. The government’s attempt to exclude Ms. Jeffress’s testimony is meritless.

I.     BACKGROUND

       This Court’s Scheduling Order included a single line stating that “Expert witness

disclosures are due” on June 10, 2019. ECF 11. These disclosures, the government

acknowledges, “are governed by Rule 16(b)(1)(C),” Mot. at 3, although the government does not

acknowledge the Fifth and Sixth Amendment protections built into that rule. For a defendant in a

criminal case, the obligation to disclose expert testimony is conditional and limited, and Mr.

Craig’s disclosure more than satisfied the applicable standard.
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          Mr. Craig filed a timely expert disclosure on June 10, 2019, stating that he expected to

call Amy Jeffress. ECF 40 (the “June 10 Disclosure”). The June 10 Disclosure explained that

Ms. Jeffress would opine that “it would have been reasonable for a knowledgeable practitioner in

the field in or around 2012 and 2013 to believe that a lawyer or law firm engaged by a foreign

government to perform an independent analysis and to complete a report on the procedures

utilized in a criminal prosecution in that foreign country was not required to register as an agent

of the foreign principal under the provisions of [FARA], regardless of how the foreign entity

intended to use the report or did in fact use it.” ECF 40 at 1. The June 10 Disclosure further

explained that Ms. Jeffress would testify “that it would have been reasonable for a

knowledgeable practitioner to believe that providing a copy of the report to a few media outlets

and speaking about the conclusions contained in it, in order to ensure that those conclusions were

accurately reported in the U.S. media, would not require registration as long as those contacts

were not made under the direction and control of the foreign principal, even if the client had an

interest in the report’s getting public attention.” Id. Finally, the June 10 Disclosure observed that

Ms. Jeffress might respond to as-yet undisclosed government opinion testimony. Id. at 2.

          The government, for the most part, does not dispute the sufficiency of the disclosure of

Ms. Jeffress’s opinions (it disputes their relevance, which is addressed below). Rather, the

government objects to the disclosure of the bases and reasons for those opinions, as well as to

Ms. Jeffress’s qualifications to render them. As to the bases and reasons, the June 10 Disclosure

stated:

                 Ms. Jeffress will base her opinions on her experience as a federal
                 prosecutor, including especially her role as Chief of the National
                 Security Section of the United States Attorney’s Office for the
                 District of Columbia, from 2007 to 2009, during which time she
                 supervised that Office’s investigations and prosecutions related to
                 FARA, and her knowledge of how the FARA Unit performed its

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               functions. She will also base her opinions on her experience
               serving as the designated FARA advisor for Arnold & Porter with
               respect to her own law firm’s FARA obligations. And she will base
               her opinions on her knowledge gained as a FARA practitioner who
               often advises clients (including lawyers and law firms, consulting
               firms, and some foreign companies) on their registration
               obligations under FARA. Ms. Jeffress’s opinions will also be
               based on her review of documents produced by the government in
               discovery in this case, and her knowledge of the activities of
               lawyers and law firms representing foreign governments and
               foreign entities during the relevant time frame.

Id.

       As to Ms. Jeffress’s qualifications, the June 10 Disclosure attached Ms. Jeffress’s

biography, as maintained on her law firm’s website. See ECF 40-1. The attachment summarized

Ms. Jeffress’s career highlights as a lawyer, including most prominently her focus in national

security, white collar criminal defense, and export control and sanctions. It also outlined her

experience, including her service as the Chief of the National Security Section of the U.S.

Attorney’s Office for the District of Columbia and as Counselor to the U.S. Attorney General for

National Security and International Matters. In these capacities, Ms. Jeffress essentially served as

a supervisor of government attorneys who would prosecute FARA violations, like the

prosecutors in this case. Of course, there were exceedingly few FARA prosecutions during Ms.

Jeffress’s tenure (and for decades before she arrived), but this fact, coupled with the absence of

civil enforcement actions, only reinforces Ms. Jeffress’s opinions concerning why lawyers in Mr.

Craig’s position would not have believed FARA registration was required.

       On June 11, 2019, the government sent a three-page letter to defense counsel requesting

more information about Ms. Jeffress’s opinions by Friday, June 14. ECF 42-5. “To assist”

defense counsel, the government “identified . . . some of the more serious deficiencies in” the

June 10 Disclosure. Id. at 1. These purported “deficiencies” in fact were demands for

information far beyond the requirements of Rule 16. Nevertheless, on Monday, June 17, defense
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counsel sent a detailed response to the government. This “Supplemental Disclosure” began by

noting that the June 10 Disclosure was “adequate and consistent with Rule 16 and the Court’s

scheduling order.” ECF 42-6, at 2. To avoid needless motions practice, however, Mr. Craig

provided additional information. As to Ms. Jeffress’s qualifications, the Supplemental Disclosure

explained:

              Ms. Jeffress supervised the investigation of Robert J. Cabelly
              during her tenure as Chief of the National Security Section of the
              United States Attorney’s Office for the District of Columbia. She
              was not involved in the actual charging decision in that matter
              because by the time the indictment was returned she had moved to
              a position at Main Justice. The charges in the Cabelly matter
              involved a defendant who had registered as a foreign agent under
              FARA, then announced to the FARA Unit that he was terminating
              his services as an agent, but he nonetheless continued to act as an
              unregistered agent for the Republic of the Sudan following the
              termination of his FARA registration. The indictment was unsealed
              in October, 2009 and the matter is Case no. CR-09-278, assigned
              to Judge Bates. Ms. Jeffress also had involvement as a prosecutor
              with at least two other cases involving charges based on 18 U.S.C.
              § 951 (acting as a foreign agent without disclosure to the Attorney
              General).

              We can also clarify that Ms. Jeffress joined Arnold & Porter in
              April, 2014 and began to work on FARA-related matters for the
              firm and for its clients by the fall of that year. Initially, she assisted
              another more senior attorney in advising on the firm’s own FARA-
              related responsibilities, as well as advising clients regarding FARA
              registration issues during the period from December, 2014, through
              2017. After the other attorney retired, Ms. Jeffress became the
              Firm’s designated FARA advisor in January, 2018, a position she
              still holds. Over the last five years she has been involved in
              preparing, reviewing and filing over 50 FARA registration forms
              on behalf of Arnold & Porter, and she has provided FARA advice
              to more than a dozen firm clients, including consulting firms,
              corporate entities, nonprofit think tanks, law firms, and three
              disclosed foreign government clients of her law firm. Although
              Ms. Jeffress was not involved in a private FARA practice during
              2012 and 2013, she will testify that she is unaware of any
              significant developments during the period between 2012 and 2017
              that would have changed the approach of FARA practitioners with
              respect to their advice concerning the registration obligations
              created by the statute.
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ECF 42-6, at 2-3. The Supplemental Disclosure then identified a number of written materials that

Ms. Jeffress is expected to rely upon for her opinions, including the definitional provisions in the

statutory text, the legislative history of those provisions, specific decisions interpreting the

agency requirements of the statute, and a treatise that offers practical guidance on the statute’s

interpretation. Id. at 3.

II.     ARGUMENT

        A.      Ms. Jeffress’s proffered testimony is relevant and admissible.

        The Indictment alleges that Mr. Craig committed two felony offenses by withholding or

concealing information from the FARA unit. Each of those charges necessarily presents the jury

with two questions that are likely to be central to the trial. First, if Mr. Craig concealed or

withheld information he was obligated to provide, was that information “material” to a decision

or action by the FARA Unit; i.e., would it have tended to influence a reasonable agency

decision-maker? Second, did Mr. Craig act willfully, meaning did he know he was acting

unlawfully by withholding or concealing the information? Ms. Jeffress will aid the jury in

answering these questions by explaining how FARA was reasonably and widely understood in

2012, prior to the Department of Justice’s recent policy changes.

        Expert testimony on materiality is admissible. In United States v. Litvak, 808 F.3d 160,

180-85 (2d Cir. 2015), for instance, the court reversed a securities fraud conviction because the

district court would not allow expert testimony on how investment managers value mortgage

securities, and “the likely impact on the final purchase price of a broker’s statements to a

counterparty during the course of negotiating a RMBS transaction.” Id. at 182. Because

materiality is an objective standard, the defendant could not be “left only with the ‘victims’ of

his conduct as sources of potential testimony on this issue.” Id. at 183-84. In United States v.

Barile, 286 F.3d 749, 759-62 (4th Cir. 2002), the court ruled that the wholesale exclusion of
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expert testimony on the materiality of false statements in submissions to the FDA was proper as

a discovery sanction, but not on the merits, which it directed the district court to reconsider if a

different error required a retrial. The expert would have testified about the practice in making

such submissions to the FDA and whether the alleged false statement was material in light of that

standard practice. See also United States v. Lindsey, 850 F.3d 1009, 1016 (9th Cir. 2017) (“it

would be admissible for a defense expert to testify that, while mortgage applications usually ask

about marital status, the general practice in the industry is to ignore marital status when making

lending decisions”); United States v. Wolf, 860 F.3d 175, 193-94 (4th Cir. 2017) (affirming

decision to admit government expert testimony on the materiality of representations concerning

down payments in the mortgage industry).

       Expert testimony on willfulness can also be admissible, particularly in the context of

statutory requirements that are complex, ambiguous, or unsettled. See, e.g., United States v. Leo,

941 F.2d 181, 196-97 (3d Cir. 1991); United States v. Bradley, 2006 WL 8429691 (S.D. Ga. Feb.

20, 2006);1 United States v. Banki, 2010 WL 1875690 (S.D.N.Y. May 10, 2010).2 In Banki, the

court permitted a former director of the Office of Foreign Assets Control (OFAC) to testify

regarding both materiality and willfulness in a case charging violations of Iranian sanctions and

false statements in response to OFAC inquiries. The expert was allowed to testify about OFAC’s

policy not to regulate non-commercial family remittances, provided there was evidence in the

record to link the policy to the defendant’s state of mind with regard to what the law required. He

1
 Bradley relies on a body of cases dealing with expert testimony on willfulness in tax offenses.
2006 WL 8429691, *3 n.4.
2
 Courts also routinely allow similar expert testimony about the standard of reasonable corporate
behavior when the issue is willful patent infringement. See, e.g., Abbott Biotechnology Ltd. v.
Centocor Ortho Biotech, Inc., 2014 WL 7330777 (D. Mass. Dec. 19, 2014); Oxford Gene Tech.,
Ltd. v. Mergen Ltd., 345 F. Supp. 2d 431, 442-43 (D. Del. 2004).

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was also allowed to testify about the materiality of the allegedly false statement identifying the

family member involved with the remittances. See id. at *3-4.

       In this case, Ms. Jeffress’s testimony goes to the heart of the willfulness and materiality

elements at issue, as demonstrated by a controlling decision that the government fails to cite. In

United States v. Safavian, 528 F.3d 957, 967 (D.C. Cir. 2008), defendant Safavian was convicted

under 18 U.S.C. § 1001 for telling a government ethics officer that lobbyist Jack Abramoff had

“no business” before the General Services Administration (GSA) when Safavian, a GSA

employee, was planning to take an elaborate golfing vacation with Abramoff. Safavian claimed

that he intended “no business” to mean that Abramoff did not have a contract with the GSA at

the time, and he wanted to call an expert witness to offer favorable testimony “on how

government contracting professionals view having business or working with GSA.” Id. at 966.

The district court excluded the expert from testifying and Safavian was convicted. The Court of

Appeals reversed, holding that the district court abused its discretion by excluding Safavian’s

expert. As the Court of Appeals explained, the expert witness would have testified on “the

common usage of the terms in the government contracts industry,” and the jury could decide that

Safavian intended that usage rather than a lay meaning that would be within the ken of jurors.

See id. at 967. The exclusion of Safavian’s expert was particularly harmful “in light of the fact

that two government witnesses, though not appearing as experts, testified regarding their own

interpretations of the phrase ‘doing business.’” Id.

       The Safavian decision is on all fours with Mr. Craig’s position in this case. If reasonable

practitioners would believe that dissuading journalists from accepting Ukraine’s spin on the

Skadden report did not require registration under FARA, it is more likely that Mr. Craig

understood that it was his independent purpose in making those contacts that mattered, not the


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information he is accused of concealing or withholding about what others were planning or

doing. See ECF 48, at 11-13 (discussing predominant purpose).

       Ms. Jeffress is not going to opine about Mr. Craig’s own mental state. That is a straw

man the government creates so it can argue that her testimony is barred by Rule 704(b). In

Safavian, the expert’s testimony was not barred by Rule 704(b) because it was not an opinion

about Safavian’s ultimate intent. Rather, it provided information beyond the ken of the jury that

shed light on what Safavian may have been thinking, and the same is true here. The line between

expert testimony that supports an inference of the defendant’s ultimate intent (admissible) and

expert testimony about the defendant’s ultimate intent (inadmissible) is sometimes blurry, but the

Court of Appeals for the District of Columbia Circuit leans toward admissibility. United States v.

Boney, 977 F.2d 624, 630-31 (D.C. Cir. 1992) (“We accept the Fifth and Ninth Circuits’ view

that an expert may not testify on the ultimate question of guilt or innocence, but find no warrant

in the Federal Rules to extend that prohibition.”); see also United States v. Dunn, 846 F.2d 761

(D.C. Cir. 1988) (mere fact that expert’s testimony supports an inference of defendant’s ultimate

intent does not mean it transgresses Rule 704(b), and thus government expert could testify that

possession of drug paraphernalia was common among drug distributors when ultimate issue was

defendant’s intent to distribute); United States v. Conyers, 118 F.3d 755, 758 (D.C. Cir. 1997)

(Rule 704(b) did not bar expert testimony that weapon recovered from the defendant “was

further proof that he was an experienced drug dealer”); Boney, 977 F.2d at 631 (expert could

testify that a defendant’s actions, as described by prosecutor, suggested what role defendant

played in criminal enterprise).

       Because Ms. Jeffress’s proffered testimony is relevant and admissible, the Court should

deny the government’s motion in limine.


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       B.      Ms. Jeffress’s proffered testimony will not confuse or mislead the jury.

       The government also claims Ms. Jeffress’s testimony will “confuse and mislead the jury

because it improperly attempts to approximate Defendant’s mental state.” ECF 42, at 9. As the

government sees it: “‘Expert’ testimony about Defendant’s alleged belief (as a ‘reasonable’

practitioner) that he did not have to register under FARA . . . could lead some jurors to assume or

believe that Defendant’s mental state . . . is somehow determined by the mental state of a

reasonable practitioner regarding FARA registration in 2012.” Id.

       At the outset, the government mischaracterizes the proffered testimony. Ms. Jeffress will

not be testifying “about Defendant’s alleged belief . . . that he did not have to register under

FARA.” Id. She will be testifying about what reasonable practitioners would have thought in the

same or similar circumstances. The jury can then decide whether Mr. Craig actually held that

belief – in light of all the evidence, including Ms. Jeffress’s testimony about what reasonable

practitioners would have thought.

       Substantively, the government cites no case in support of its position that the probative

value of Ms. Jeffress’s testimony is “substantially outweighed” by a danger that it would confuse

or mislead the jury. See Fed. R. Evid. 403. Significantly, the government continues to ignore

Safavian, which specifically rejected the district court’s conclusion that the testimony would be

confusing. See 528 F.3d at 966. If expert testimony about a reasonable practitioner’s

understanding of “doing business with the GSA” is not too confusing for a jury to process, then

neither is expert testimony about a reasonable practitioner’s understanding of FARA’s

registration obligation. Indeed, in Safavian, the Court of Appeals did not merely hold that

defense expert testimony was admissible; it held that excluding the evidence was an abuse of

discretion. In a criminal case, courts should be cautious about excluding relevant evidence for the

defense. See, e.g., United States v. Scheffer, 523 U.S. 303, 309 (1998) (exclusion of relevant
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defense evidence can be a constitutional violation if disproportionate to the purpose of the rule

and if it affects a weighty interest of the accused); see also infra Part II.C.4. Even if the probative

value of the evidence is minimal, the court generally should exercise its discretion under Rule

403 by admitting the testimony. See United States v. Moore, 732 F.2d 983, 989 (D.C. Cir. 1984)

(language of Rule 403 tilts toward the admission of evidence in close cases). In this case, Ms.

Jeffress’s testimony relates to a key defense, which is particularly critical in a case that presents a

novel and untested interpretation of the criminal statutes at issue.

            C.     Mr. Craig provided proper notice of Ms. Jeffress’s expert testimony.

            Finally, the government complains that defendant’s timely disclosure of Ms. Jeffress was

inadequate and that his supplement to the disclosure was submitted one business day after the

government’s unilateral deadline. See Mot. at 4-5. At the outset, although it is not clear whether

the government wants the Supplemental Disclosure stricken or ignored, the Court plainly should

consider it together with the June 10 Disclosure. Defendant is aware of no criminal case that

would preclude considering a supplemental disclosure that was prepared at the government’s

request, merely because the supplement was provided one business day after the government’s

arbitrary deadline, only one week after the original disclosure was served, and two months prior

to trial.

                   1.     Defendant adequately described the bases and reasons for Ms.
                          Jeffress’s opinions.

            The government acknowledges that Mr. Craig timely disclosed “two specific opinions by

Ms. Jeffress listed on the first page” of the June 10 Disclosure. Mot. at 10. But the government

complains the Disclosure did not explain “how and why Ms. Jeffress reached those opinions, or

what evidence or documents support her legal conclusions.” Id. This argument is meritless.

Unlike Federal Rule of Civil Procedure 26, which requires an expert report containing (among


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many other things) “a complete statement of all opinions the witness will express and the basis

and reasons for them,” Criminal Rule 16 requires only a “written summary.” Fed. R. Crim. P.

16(b)(C); see United States v. Mehta, 236 F. Supp. 2d 150, 155 (D. Mass. 2002) (criminal

expert-disclosure requirement much less onerous than civil). Indeed, a criminal defendant has no

obligation to disclose expert witnesses at all unless the defendant has requested disclosure of the

government’s experts “and the government complies.” Fed. R. Crim. P. 16(b)(C)(i). When the

government “complies” by stating that it does not intend to call an expert, as the government did

here, courts are split as to whether a defendant must file any disclosure under Rule 16.3

       In any event, under Rule 16, “A party sufficiently states an expert’s basis for his

testimony by noting the expert’s education, training and experience and attaching a resume.”

United States v. Rogers, 2006 WL 5249745 (D.D.C. July 17, 2006), appeal dismissed, 2012 WL

4773803 (D.C. Cir. Oct. 4, 2012); see also United States v. Hite, 769 F.3d 1154, 1168 (D.C. Cir.

2014) (implicitly approving disclosure that opinions were based on expert’s “‘background and

experience in the field of psychiatry, his academic and clinical study of sexual behaviors

including his examination of hundreds of patients diagnosed with clinical pedophilia, a forensic

analysis and diagnosis of [the defendant], and a review of the superseding indictment in this case

and discovery provided by the government to [the defendant]’”). The Rule may require more

when the expert is offering a medical diagnosis of the defendant or is proffering a scientific

opinion after a technical analysis. But when the opinion derives from the witness’s professional




3
  Compare United States v. Finazzo, 2013 WL 618425, at *2-3 (E.D.N.Y. Feb. 19, 2013) and
United States v. Raj Rajaratnam, 2011 WL 723530, at *2 (S.D.N.Y. Feb. 25, 2011) (defendant
must provide notice) with United States v. Young, 2010 WL 1418748 (D. Me. Apr. 6, 2010)
(notice not required).

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knowledge, education, and experience in a particular subject area, it is sufficient to outline her

educational credentials and experience.

       Mr. Craig’s disclosures easily meet these standards. The disclosures set forth Ms.

Jeffress’s background, knowledge, credentials, and experience, and further cite ample written

materials that support her opinions. The government’s assertion that Mr. Craig failed to identify

“what evidence or documents support her legal conclusions,” Mot. at 10, is simply false. The

Supplemental Disclosure identifies many such materials. ECF 42-6, at 3. And Rule 16 does not

require a report explaining how each item of the expert’s knowledge, education, or experience

relates to the expected opinion, particularly when the basic opinion is the common understanding

of certain practices in the expert’s professional community. See, e.g., United States v. Hite, 769

F.3d 1154, 1169 (D.C. Cir. 2014) (“To the extent that the District Court concluded that

[defendant’s] Rule 16 notice was deficient because it failed to set forth the relevance of each

proposed opinion . . . we note that the District Court imposed a burden that goes beyond the

scope of Rule 16.”).

       That the government has ample information and resources to prepare its cross-

examination – the touchstone of Rule 16 – is proven by the government’s motion itself. The

government already has “under[taken] an inquiry about Ms. Jeffress’ FARA experience at NSS”

by “talking to a number of prosecutors who either worked with or for Ms. Jeffress.” Mot. at 13.

The government finds that experience wanting because Ms. Jeffress purportedly “never

supervised or prosecuted a case under FARA when she served as Chief of NSS.” Id. If the

government wants to argue to the jury that its former Chief of the National Security Section has

little experience with FARA prosecutions because the government almost never brought FARA

prosecutions during her tenure (and for decades before), Mr. Craig will not stand in the way. Of


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course, the government also will have to confront Ms. Jeffress’s experience working for private

FARA clients, and especially her work “preparing, reviewing and filing over 50 FARA

registration forms on behalf of Arnold & Porter.” ECF 42-6 at 1. It is difficult to imagine more

relevant experience where the Indictment specifically alleges that Mr. Craig, while working at

Skadden (a peer of Arnold & Porter), was required to register under FARA. The government’s

carping about Ms. Jeffress’s background and experience may be material for cross-examination,

but it does not render her unqualified to offer an opinion.

       More important, these imagined deficiencies in Ms. Jeffress’s knowledge and experience

have nothing to do with the adequacy of the expert disclosure under Rule 16. The basis for Ms.

Jeffress’s opinion is her knowledge, education, and experience, coupled with her understanding

of the statutory text, the legislative history of the key provisions, relevant interpretive decisions

and the practical determinations that have guided FARA practitioners and the Department of

Justice in applying the statute’s terms to particular factual situations. Whether her credentials and

practical experience make her opinion sound or unsound is not a disclosure issue under Rule 16.

The government’s contention that Mr. Craig did not adequately disclose the basis of Ms.

Jeffress’s opinion is meritless.

               2.      Ms. Jeffress’s opinion is reliable.

       To the extent the government is arguing that Ms. Jeffress’s opinions are relevant but not

reliable, that argument is misplaced (and should have been filed, if at all, in a proper Daubert

motion). Mr. Craig recognizes, of course, that the Court serves a gatekeeping role to ensure that

all expert testimony, even when it is not scientific or technical, is based on a reliable foundation.

E.g., Kumho Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999). But the test of reliability is

flexible, and a district court has “broad latitude when it decides how to determine reliability.” Id.

at 142. When the subject matter is nonscientific, “the relevant reliability concerns may focus
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upon personal knowledge or experience.” Id. at 150; see also Fed. R. Evid. 702 Advisory

Committee’s note, 2000 amendment (“In certain fields, experience is the predominant, if not

sole, basis for a great deal of reliable expert testimony.”). In this case, the Daubert factors

(testing, peer review, error rates, and acceptability in the relevant scientific community) are not

apt, and the question turns on whether Ms. Jeffress’s opinions are reliable in light of her

knowledge, education, and experience.

       The answer should be easy. Ms. Jeffress is one of the nation’s pre-eminent national

security lawyers. She advises companies and individuals on FARA matters. She has extensive,

high-level experience as both a prosecutor and a defense lawyer in matters of national security,

including dozens of matters involving FARA. She has appeared as a guest on national security

matters on PBS NewsHour, The National Security Law Podcast (August 2018), and other media.

She published an article on FARA that addresses the statute’s history, analyzes recently released

advisory opinions on the statute, and comments on enforcement trends. See A. Jeffress et al.,

INSIGHT: Clearing the Mist Surrounding The Foreign Agents Registration Act, Bloomberg Law

(July 13, 2018). She is a 1992 graduate of Yale Law School and served on the Yale Law Journal,

and she clerked for Judge Gesell of this Court. Her educational and experiential foundation

should satisfy any concerns about the reliability of her expected testimony. If the Court has any

doubt about Ms. Jeffress’s knowledge concerning the relevant issues, it can make a ruling at trial

after voir dire, or conduct its own voir dire at the appropriate time.

               3.      Defendant properly identified Ms. Jeffress’s “other opinions.”

       The government next complains that Mr. Craig did not “properly identify Ms. Jeffress’s

other opinions.” Mot. at 11. These “other opinions,” as the disclosure makes clear, would be

responsive to testimony of government witnesses, and therefore cannot be set forth with

specificity at this time. Nevertheless, Mr. Craig made a good faith effort to explain that he
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expected “that the government will seek to obtain testimony from one or more lay or expert

witnesses as to facts material to a determination of whether Mr. Craig and Skadden were

required to register, and the significance of omitted facts to that question.” ECF 40 at 2. If that

occurs, “we expect Ms. Jeffress to respond to that testimony consistent with her previously

described opinions.” Id. In his Supplemental Disclosure Mr. Craig explained:

               Depending on the testimony offered by the government’s witnesses
               at trial, we reserve the right to have Ms. Jeffress offer additional
               opinions about how a reasonable practitioner during the relevant
               time frame would have analyzed the First Amendment implications
               of FARA registration requirements for persons who communicate
               to the media for their own purposes, and while not acting under the
               direction or control of a foreign principal. She may also address the
               judicial opinions that have emphasized that FARA’s definitional
               provisions must be interpreted narrowly in order to avoid the
               impairment of a citizen’s rights to free speech, and to ensure that
               Congress’s purpose in enacting the 1966 amendments to the statute
               are honored by ensuring that FARA registration is required only
               for persons acting “for or on behalf of” a foreign principal. These
               cases include [citations].

ECF 42-6, at 3.

       The government can hardly assert “unfair surprise” over this disclosure. The only unfair

surprise comes from the government’s nondisclosure, which claimed to designate no expert

witnesses but then casually observed that two government witnesses would be testifying

“consistent with” their grand jury testimony and government interviews, which contained

extensive commentary that would clearly be considered within the purview of an expert. Mr.

Craig could not know for sure whether the government would try to elicit this opinion testimony

through its witnesses, and as a result he was impelled to file a motion in limine to exclude the

most problematic topics. If that motion is denied and the government witnesses are permitted to

testify on these topics, the government has ample notice, through both the Jeffress disclosures

and Mr. Craig’s motion in limine, what opinion testimony Ms. Jeffress might offer in response.

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               4.     Defendant established Ms. Jeffress’s qualifications.

       Finally, the government claims that Mr. Craig “failed to establish Ms. Jeffress’s

qualifications.” Mot. at 13. Again, this is not a Rule 16 issue. Rule 16 simply requires notice of

the witness’s qualifications, which Mr. Craig has provided. The government is wrongly trying to

transform Rule 16 into a Daubert requirement. In any event, Ms. Jeffress is fully qualified to

offer opinions about FARA based on her knowledge, education, and experience. The government

does not really dispute that Ms. Jeffress’s experience gives her ample foundation to explain what

a reasonable practitioner would have understood FARA to mean, but it quibbles that she cannot

testify about what FARA meant in 2012-13 because during those years she was working in a

different capacity for the Department of Justice. This argument is classic example of trying to

convert routine (and not very persuasive) cross-examination material into a Daubert motion. See,

e.g., Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596 (1993) (“Vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of proof

are the traditional and appropriate means of attacking shaky but admissible evidence.”). The

government cannot explain why the common understanding of FARA changed between 2013

and 2014, or why, even if it did, a person who currently focuses on FARA issues, and has

reviewed and advised on FARA registration matters for her law firm and its clients since 2014

cannot be an expert on how the statute was understood in 2013. Compare United States v. Mejia,

448 F.3d 436, 448 (D.C. Cir. 2006) (law enforcement officer can testify based on experience as

to the meaning of coded words and phrases in drug trafficking); Exum v. General Elec. Co., 819

F.2d 1158, 1163-64 (D.C. Cir. 1987) (Rule 702 “does not require the expert to have personal

familiarity with the subject of his testimony; ‘experience’ is only one among the five different

ways to demonstrate an expert is qualified.”); Banki, 2010 WL 1875690, at *3 (government

could point out on cross-examination that defense expert did not work at OFAC during time
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period charged in indictment). If that were the rule, no one would be qualified to testify about

historical matters. Compare Minnesota v. Mille Lacs Band of Chippewa Indians, 526 U.S. 172,

181 (1999) (citing expert historian’s testimony on federal efforts to displace Chippewa in mid

1800s). Here, of course, Ms. Jeffress’s relevant experience straddles the 2012-13 period, and her

knowledge of FARA practices includes that period.

                5.      Excluding Ms. Jeffress’s testimony would be disproportionate to the
                        (alleged) Rule 16 violation.

        Even if Mr. Craig had not complied with Rule 16, it would not be appropriate to exclude

Ms. Jeffress’s testimony on that ground. The exclusion of a defense witness on account of a

discovery violation raises constitutional concerns under the Sixth Amendment. See Taylor v.

Illinois, 484 U.S. 400 (1988). “‘[A]lthough Rule 16 gives trial judges the option of suppressing

evidence as a result of discovery violations, such a severe sanction would seldom be appropriate

where . . . the trial court finds that [the party’s] violation did not result from its bad faith and that

a less drastic remedy (such as a continuance) will mitigate any unfair prejudice.’” United States

v. Gray-Burriss, 791 F.3d 50, 55-56 (quoting United States v. Marshall, 132 F.3d 63, 70 (D.C.

Cir. 1998)). Bad faith is an “important factor” but not an absolute precondition; the threshold

seems to be “willful” conduct “motivated by a desire to obtain a tactical advantage that would

minimize the effectiveness of cross-examination and the ability to adduce rebuttal evidence.”

United States v. Johnson, 970 F.2d 907, 910 (D.C. Cir. 1992) (quoting Taylor, 484 U.S. at 415).4


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  The one case cited by the government to support exclusion, United States v. Day, 524 F.3d
1361, 1372 (D.C. Cir. 2008), is not apposite. In Day, the defendant wanted to present an expert
opinion that he did not have the mental capacity to form the mens rea necessary to commit a
fraud offense – a facially dubious argument given the charges, which alleged a 10-year practice
of stealing client money that was intended to purchase insurance for the clients. The defendant
filed a notice of expert evidence of a mental condition under Rule 12.2(b), which permits the
government to move for an examination of the defendant, Fed. R. Crim. P. 12.2(c)(1)(B), and
also obligates the defendant to provide a written summary of the expert’s opinions and bases and
reasons therefor under Rule 16(b)(1)(C)(ii). The defendant filed untimely disclosures of three
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       The government has not remotely met these standards in this case. Defendant timely and

adequately disclosed Ms. Jeffress’s testimony; but even if everything in the government’s motion

were true, it would not amount to a willful or blatant violation of Rule 16. Moreover, the

government has suffered no prejudice. The government has all the information it needs to

prepare for the cross-examination of Ms. Jeffress long before trial. Compare United States v.

Slough, 61 F. Supp. 3d 103, 106, 109 (D.D.C. 2014) (supplemental disclosure “some hours”

before jury was sworn was satisfactory because it was “delivered pretrial—consistent with the

timeliness expectation embedded within Rule 16”). For that additional reason, the government’s

motion to exclude Ms. Jeffress’s testimony should be denied.

III.   CONCLUSION

       For the reasons stated, defendant Gregory B. Craig respectfully requests that the

government’s motion in limine be denied.




experts, all of whom were excluded by the Court after a Daubert hearing. The defendant then
retained a new expert, and the District Court excluded that expert both on Daubert grounds and
for violating Rule 16 – in part because the District Court “did not believe that Day’s counsel had
acted in good faith.” Day, 524 F.3d at 1371-72 (emphasis in original). The Court of Appeals held
that the District Court did not abuse its discretion in excluding the expert under Rule 16, in light
of the egregious circumstances at issue. These included the defendant’s failure to disclose the
expert’s clinical diagnosis of the defendant and his failure to identify what conclusions he drew
from tests and interviews of the defendant. As the Court noted, “‘Upon receipt of Dr. Spodak’s
report, the government knew no more about appellant’s alleged mental deficiencies than it did
when appellant filed his Rule 12.2 notice four months earlier.’” Id. at 1372 (quoting government
brief).

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Dated: July 11, 2019                    Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 11, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF service.


                                                 /s/ Ezra B. Marcus
                                              Ezra B. Marcus
